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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

TRANSLUCENT COMMUNICATIONS                       )
                                                 )
                 Translucent,                    )
                                                 )
v.                                               )          Civil No. 8:08-CV-03235-WGC
                                                 )
AMERICAS PREMIERE CORP, ET AL.                   )
                                                 )
                 Defendants                      )

                 TRANSLUCENT'S MOTION FOR SUMMARY JUDGMENT

       Plaintiff Translucent Communications, LLC ("Translucent"), by and through undersigned

counsel, and pursuant to Rule 56 of the Federal Rules of Civil Procedure, respectfully moves this

Court for an Order granting summary judgment in favor of Translucent regarding liability and

damages on all counts. Translucent is also entitled to an adverse inference due to Defendants'

failure to produce a document critically important to this litigation. The grounds for this motion,

fully set forth in the attached Memorandum of Points and Authorities, are that there are no

genuine disputes as to any material facts. Therefore, Translucent is entitled to judgment as a

matter of law.

Dated: October 9, 2009                       Respectfully submitted,

                                             HOLLAND & KNIGHT LLP

                                             __/s/______________________
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

TRANSLUCENT COMMUNICATIONS                       )
                                                 )
               Translucent,                      )
                                                 )
v.                                               )           Civil No. 8:08-CV-03235-WGC
                                                 )
AMERICAS PREMIERE CORP, ET AL.                   )
                                                 )
               Defendants                        )

                    MEMORANDUM OF LAW IN SUPPORT OF
               TRANSLUCENT'S MOTION FOR SUMMARY JUDGMENT

       Plaintiff Translucent Communications, LLC, ("Translucent"), pursuant to Rules 37 and

56 of the Federal Rules of Civil Procedure, hereby moves for summary judgment against

Defendants America's Premiere Corp., National Angus Corp. (collectively doing business as

"APC Wireless") and its President and CEO Paul Greene, both personally and professionally

(collectively "Defendants"), on all counts because the record shows that there are no material

issues of fact. Therefore, Translucent is entitled to judgment as a latter of law. Translucent is

also entitled to an adverse inference due to Defendants' failure to produce a document critically

important to this litigation. The grounds for this Motion are as follows:

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                               INTRODUCTION AND BACKGROUND

         This is a case about simple fairness—where one company, Defendants APC Wireless,

and its President and CEO, Paul Greene both personally and professionally—knowingly took

advantage of Translucent Communications, wrongfully binding it to a debt of over $1.2 million

and causing Translucent to be sued on that debt by a third-party, and thereafter usurping

Translucent's website and trademark in a purely retaliatory manner. Fairness requires that

Defendants, who admit all responsibility for the debt, and have admitted to using Translucent's

mark, must be held to account for their wrongful, deliberate actions.

         This case rests on a simple set of undisputed facts. Defendants APC Wireless and its

President and CEO, Paul Greene, concocted a scheme to receive a cash-advance on false

invoices in the name of Translucent, and against Translucent's will, in order to obtain a loan of

over $1.2 million dollars from a non-party factoring company called AmeriFactors Financial

Group ("AmeriFactors"). It is undisputed that on or about April 11, 2008 Defendants America's

Premiere Corp. and National Angus Corp., (doing business as "APC Wireless") and its President,

Paul Greene, entered into a contract with AmeriFactors1 that, by Defendant Greene's own

admission, improperly bound Translucent to a staggering debt of $1,267,964.26 for goods never

actually ordered, shipped, or received:

         Q: Did [Translucent's President Brett Schmulian] have the phones?
         A: He did not have the phones.
         Q: Why did you say "it was a hundred percent our fault."?
         A: Because, as I said from the beginning, I don't believe this is his debt. This is my debt.
         And, just is what it is.
         Q: And why did you say, "We will take full blame."?
         A: Because it's our debt.
         Greene Dep. 216:6-15.


1
  This Court need not consider the particularized details surrounding the validity and existence of any contract, and
instead should take judicial notice of the fact that AmeriFactors is suing Translucent on the same debt in Florida
state court.
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        The evidence overwhelmingly demonstrates that Defendants then fraudulently induced

Translucent into inaction with repeated assurances, and a clear and definite promise from APC

Wireless and Paul Greene, stating unequivocally that Defendants—not Translucent—would be

responsible for the debt owed to AmeriFactors as well as any resulting harm to Translucent.

This fraudulent transaction and subsequent inducement and reliance began on April 11, 2008,

and continued into early June of 2008. As a direct result of Defendants' actions, AmeriFactors

brought suit against Translucent in Florida state court to recover the $1,267,964.26 debt, at

extreme cost and detriment to Translucent.2 As a further result of Defendants' actions,

Translucent's business has been significantly harmed in the form of a lost investor and its

inability to receive bank financing due to the Florida lawsuit.

        To add further fuel to the fire, in October 2008, as Translucent's competitor in the cellular

telephone industry and to further damage Translucent, Defendants deliberately took possession

of Translucent's website domain name, translucentcommunications.com, and redirected all

internet traffic and business derived by the website from Translucent's website to Defendants'

website. Defendants thereby converted the website, which Translucent values to be $50,000, for

its own benefit and use by redirecting all internet traffic and business, and caused Translucent

unknowable harm as a result of its unfair business practices.

        Further, Defendants offered goods and services through its own website operating on

Translucent's domain name in an attempt to deceive the public, and cause confusion and mistake

as to the origin of the goods and services marketed on the website, and in a textbook case of

unfair competition utilized Translucent's mark and trade name for Defendants' own benefit and to


2
 On September 16, 2008, AmeriFactors initiated a lawsuit against Translucent seeking payment in the amount of
$1,267,964.26 plus interest and costs (correct?), for Account Stated, Open Account, Goods Sold, Breach of
Contract, and Promissory Estoppel, captioned as Amerifactors Financial Group, Inc. v. Translucent
Communications, LLC, Case No. 08-54842 CA 03 filed in the 11th Circuit Court in Miami-Dade County, Florida .


                                                     2
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Translucent's detriment. 15 U.S.C. §1125 et seq. Moreover, Defendants' taking of the website

and redirection of all of Translucent's internet traffic and business constitutes a direct violation of

the Anti-Cybersquatting Consumer Protection Act. Id. As a result of Defendants' offenses upon

Translucent's trade name, domain name, and redirection of internet traffic, Translucent has

suffered both knowable and unknowable damages that must compensated through an accounting

of Defendants' profits, statutory damages in the amount of $100,000 for infringing Translucent's

domain, as well as reasonable attorney's fees costs in prosecuting this action.

        The facts, fairness, and simple logic dictate that (1) Defendants must be held responsible

for the debt which underlies this lawsuit and all resulting harm suffered by Translucent based

upon its reliance on the fraudulent inducement and guarantee made by Defendants, and (2)

Defendants must be held responsible for all resulting harm suffered by Translucent due to

Defendants' taking of Translucent's website domain name and trade name. Summary judgment

should be entered in Translucent's favor on all Counts as a matter of law.

                              STATEMENT OF UNDISPUTED FACTS

        The following material facts are undisputed and are supported by the allegations in the

Verified Complaint, discovery responses, sworn affidavits, deposition transcripts and documents

related to this action3:




3
 The following depositions and affidavits are attached as Exhibits A-H and abbreviated as follows:
Exhibit A: Deposition Excerpts of Defendant Paul Greene ("Greene Dep.")
Exhibit B: Deposition Excerpts of Brett Schmulian ("Schmulian Dep.")
Exhibit C: Affidavit of Daniel Toledo ("Toledo Aff.")
Exhibit D: Deposition Excerpts of Samuel Bahreini ("Bahreini Dep.")
Exhibit E: Affidavit of Marc Green ("Marc Green Aff.")
Exhibit F: Affidavit of Birte Hohne ("Hohne Aff.")
Exhibit G: Affidavit of Krupesh Patel ("Patel Aff.")
Exhibit H: Deposition Excerpts of Blazer Catzen ("Catzen Dep.")


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                      Defendants' Actions Regarding the AmeriFactors Debt

        1.       Translucent is being held liable for a debt of $1,267,964.26 pursuant to invoices

issued by Defendants and assigned to AmeriFactors. See Translucent's First Amended Verified

Complaint attached hereto (without exhibits) as Exhibit 1; AmeriFactors' Complaint,

AmeriFactors Financial Group, Inc. v. Translucent Communications, LLC, Case No. 08-54842

CA 03 (11th Circuit Court, Miami-Dade County, Florida), attached hereto as Exhibit 2. These

invoices, dated April 8, 2008 (Invoice No. 3006092), and April 14, 2008 (Invoice No. 3006094)

("the Invoices") relate to the alleged sale of wireless telephones and communications equipment.

The Invoices were first received by Translucent on April 11, 2008 at 2:04 PM from APC

Wireless' Vice President Samuel Bahreini, and are attached hereto as Exhibit 3; see also Exh. 1

¶ 22 ; Toledo Aff. ¶5; Schmulian Dep. 172:4-173:6.

        2.       In April, 2008, Defendants commenced a multi-million dollar purchase of a

company called Movida from a Delaware Bankruptcy Court auction. Defendants were looking

to raise capital to fund the purchase from a number of sources, including selling Defendant

Greene's shares in Translucent and factoring invoices.4 Greene Dep. 93:9-94:7.




4
  Q: All right. How did you figure you were going to pay for this Movida purchase?
A Um, we had -- it was very similar. We had to assume all the liabilities and we have been paying it off ever
since.
***
Q. All right. Did you have to raise cash to do this?
A Yes, we did.
Q. All right. How did you raise the cash?
A We factored some invoices. We sold some equipment. We sold Translucent. We did anything we could to
raise cash.
Q. All right. How did you factor -- how, what kind of invoices did you factor?
A I factored air time and hardware invoices.
Q. Who did you factor with?
A I don't recall. Several companies.
Q. AmeriFactors?
A To AmeriFactors, correct.
Greene Dep. 93:9 to 94:7.


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           3.       On April 11, 2008, Defendant Paul Greene, President of APC Wireless, requested

that Brett Schmulian, President of Translucent, execute an assignment letter (hereafter the

"Assignment Letter") reflecting APC Wireless' intention to assign the Invoices to AmeriFactors

for collection. Schmulian Dep. 146:22-147:13, 148:8-151:24, 153:19-154:21, 161:3-167:8,

227:21-229:18, 227:21-229:18; Toledo Aff. ¶¶6-11.           Mr. Schmulian refused to execute the

Assignment Letter. Schmulian Dep. 171:9-172:4.

           4.       Defendant Greene similarly requested by email that Daniel Toledo, Vice

President of Translucent, call him to discuss the Invoices. A true and correct copy of this email

is attached hereto as Exhibit 4. See also Toledo Aff. ¶¶6-8. Defendant Greene requested that Mr.

Toledo sign the Assignment Letter on Translucent's behalf, and           Mr. Toledo responded to

Defendant Greene that he would not sign without Mr. Schmulian's authorization. Toledo Aff. at

¶11.   At no time did Mr. Toledo sign the Assignment Letter. See id;. Bahreini Dep. 113:21-

114:8; Exh. 1 at ¶ 30.

           5.       After Mr. Schmulian refused to sign the Assignment Letter for the Invoices,

Defendant Greene sent an email with the subject line "Per your request" to Mr. Schmulian

stating:

           Brett,

           Any loses (sic) incurred arising from any loss to Translucent/Brett Schmulian
           will be covered by APCWireless in reference to AmeriFactors invoices for
           factoring. I am will put up APCWireless as collateral. The invoices you are
           signing are the complete responsibly of APC not Translucent. All payments
           incurred from AmeriFactors will be paid in full by APCWireless.

           Paul Greene

A true and correct copy of this email is attached hereto as Exhibit 5; Toledo Aff. ¶11; Greene

Dep. 134:19-137:6 Exh. 1 at ¶ 25.




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       6.      On the afternoon of April 11, 2008, Mr. Schmulian, Mr. Toledo, and Defendant

Greene participated in a conference call during which Mr. Schmulian and Mr. Toledo again

refused to sign the Assignment Letter. See Schmulian Dep.149:2-150:18, 296:5-297:19; Toledo

Aff. at ¶ 9-10; Exh. 1 at ¶ 26.

       7.      The Invoices did not reflect an actual sale of goods from APC Wireless to

Translucent. Neither Translucent, nor anyone at its direction or on its behalf, ordered the goods

listed on the Invoices; and neither did Defendants ship or cause to be shipped any of the goods

listed on the Invoices, nor did Translucent receive them. Bahreini Dep. 46:7-17, 86:9-20, 113:21-

114:8, 142:16-144:13; Greene Dep. 162:13-163:5, 172:4-5, 215:5-216:7, 217:16-218:13, 220:19-

221:8, 240:16-21; Schmulian Dep. 190:5-20, 210:13-211:8; Toledo Aff ¶6.

       8.      At 7:21 PM, on April 11 Samuel Bahreini, Vice President of APC Wireless,

forwarded a purported record of an email with a subject line "Nextel Phones Invoices," to Dennis

Bays at AmeriFactors, and copied, among others Defendant Greene and Mr. Bahreini. A true

and correct copy of this email and its attachment is attached hereto as Exhibit 6.

       9.      The "Nextel Phones Invoices" email purported to forward a four-page fax from

Translucent which had the effect of binding Translucent to a debt of $1,267,964.26. The four-

page attachment sent by Mr. Bahreini consisted of a signed Assignment Letter purporting to

contain the signature of Brett Schmulian, and the Invoices. The first page was a Translucent fax

cover sheet, featuring Mr. Schmulian's name in a smaller and different font, the second page was

the Assignment Letter, and third and fourth pages were the Invoices. Importantly, unlike the

pages which were allegedly faxed by Translucent, the forged Translucent cover sheet does not

bear any time-date stamp from any fax machine, let alone that of Translucent. See id. Toledo

Aff. ¶ 12-17; Schmulian Dep. 210:20-212:10.




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        10.      Mr. Toledo never sent the purported "Nextel Phones Invoices" email to Mr.

Bahreini or Defendants. Toledo Aff. ¶17.5 Defendants never produced such a document pursuant

to a explicit discovery request, and an expert hired by Defendants (who was subsequently

disqualified) testified that he too was unable to locate the email. See Letter from Blazer Catzen

attached as Exhibit 7; Catzen Dep. 37:5-8. Moreover, there is no record of the original "Nextel

Phones Invoices" email in any documents or data recently provided by Defendants to

Translucent. Patel Aff. at ¶¶ 3-8.

        11.      Mr. Schmulian did not sign the Assignment Letter. Schmulian Dep. 66:7-10,

68:6-23, 210:20-212:10. Exh. 1 at ¶37. Mr. Schmulian was not in the State of Florida that day,

and had no access to fax or scanning equipment. See Defendants' Answers to Translucent's First

Requests for Admission at Response to Request No. 9, attached hereto as Exhibit 8. Schmulian

Dep. 66:7-10, 68:6-23, 173:2-20; Toledo Aff. ¶12; Greene Dep. 104:20-106:20; Bahreini Dep.

66:7-23, 113:21-114:8. At no time did Mr. Toledo sign his own name, or Mr. Schmulian's name,

to the Assignment Letter.6 See Toledo Aff. at ¶¶ 10-11.

        12.      Translucent's telephone and fax records indicate that no fax was sent from

Translucent to AmeriFactors at any time on April 11, 2008.7 A true and correct copy of

Translucent's telephone and fax records from April 11, 2008, which were subpoenaed from its


5
  Mr. Toledo preserved all documents relevant to this litigation, and no such document exists in Translucent's
records. Moreover, pursuant to Translucent's request, and after given multiple opportunities by the Court, APC
Wireless was unable to produce a copy of the purported original, forwarded email with the subject line "Nextel
Phones Invoices." See Toledo Aff. at ¶17; Court Order of August 10, 2009 (Dkt. No. 48); Correspondence re:
defense having a significant problem in efforts to comply with court's order of August 10, 2009 (Dkt. No 51).
6
  Mr. Toledo had authority to sign his own name on behalf of Translucent, and was not required to seek approval
from Mr. Schmulian to bind Translucent. See Toledo Aff., at ¶ 3. Mr. Toledo would not have had to forge Mr.
Schmulian's name to bind Translucent – he could have signed his own name. Id.
7
  The date, time and sender stamp generated by the fax machine on pages two to four of the fax displays as sender
the fax number 786-845-8097, and 16:39 as the time the fax was allegedly sent. The records do not show that any
communication, neither via phone nor fax, occurred from this number at that time. In addition, AmeriFactors fax
number, listed as 407-566-1250 on the fax cover sheet and on the date-time stamp on the allegedly sent fax, does not
appear anywhere in the phone records on April 11, neither as "Calling Number," nor as "Called Number."


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telephone carrier, AT&T, are attached hereto as Exhibit 9. See also Toledo Aff. at ¶12-14 Exh.

1 at ¶¶ 28-38.

       13.       On April 14, 2008, AmeriFactors advanced $600,000 to APC Wireless

representing AmeriFactors' purchase of the Invoices from APC Wireless. A true and correct

copy of the funding statement from AmeriFactors to APC Wireless regarding the Translucent

debt dated April 14, 2008 is attached hereto as Exhibit 10. Bahreini Dep. 137:7-138:1, 213:5-23.

       14.       On or about April 15, 2008, Translucent received a letter from AmeriFactors

stating that it had purchased the Invoices from APC Wireless and therefore acquired all of APC

Wireless' rights in the Invoices. AmeriFactors demanded that Translucent pay the full amount

listed on the Invoices. On April 16, 2008, Mr. Schmulian emailed Defendant Greene and Mr.

Bahreini the April 15, 2008 letter. A true and correct copy of this email and its attachments are

attached hereto as Exhibit 11. See also Bahreini Dep. 93:8-94:18.

       15.       On numerous occasions, Translucent asked Defendants Greene and APC Wireless

when they would pay the AmeriFactors debt back.

             On April 29, 2008, Mr. Schmulian emailed Mr. Bahreini, requesting that he "please
             let me know when you are planning on paying this off, they are sending me docs –
             three times."

             On May 12, 2008, Mr. Schmulian emailed Mr. Bahreini in reference to the
             AmeriFactors debt and asked "When is this due?"

             On May 13, 2008, Mr. Schmulian emailed Mr. Bahreini and copied Defendant
             Greene, saying that he "spoke with Paul regarding our conversation this morning,
             AmeriFactors called to ask about payment, Paul referred me back to you. When is
             this payment due?"

             On May 23, 2008, Mr. Schmulian again emailed Mr. Bahreini and Defendant Greene
             asking when Defendants would pay the debt to AmeriFactors: "I just received a call
             from AmeriFactors. They have called every day, but I haven’t taken the calls. They
             are saying that the [Invoices] are late. . . They wanted to know when payment will be
             done in full. Please advise when this will be paid in full as it is currently past due."




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             On May 28, 2008, Translucent and Mr. Schmulian received six calls from
             AmeriFactors about the Invoices. Mr. Schmulian did not respond and, two days later,
             emailed Defendant Greene with "high importance" stating: "these guys are calling me
             non stop, stating that the invoices are seriously past due. They claim that you gave us
             30 days and its closing in on 50. Please let me know when you are going to pay it off
             or how to handle it. They claim they are going to report this too (sic) the agencies and
             take action. Please let me know what to do."

A true and correct copy of these foregoing communications are attached hereto as Composite

Exhibit 12. Schmulian Dep. 243:19-244:19.

       16.      On June 2, 2008, at 2:18 PM, Defendant Greene emailed Mr. Schmulian a copy of

the first page of an agreement Defendants made with AmeriFactors and instructed Mr.

Schmulian to "Call to discuss." The same day, at 3:43 PM AmeriFactors sent Mr. Schmulian an

email stating that the debt was past due, and that AmeriFactors would take legal action to collect

same debt. Mr. Schmulian then forwarded this email to the attention of Defendant Greene and

Mr. Bahreini, and asked that they "please advise." Mr. Bahreini responded with the same

document Defendant Greene sent the previous day, and Mr. Schmulian then replied "yes I have

this, but according to the invoice its only 30 days . . . the seem to be sticking to it." A true and

correct copy of the June 2, 2008 correspondence is attached hereto as Exhibit 13. Bahreini Dep.

109:11-111:14.

       17.      The next day, on June 3, 2008, Mr. Schmulian sent an email to Defendant Greene

again forwarding the previous day's email from AmeriFactors, stating that Translucent never

received any of the goods listed in the April 8, 2008 Invoice and the April 14, 2008 Invoice; that

the Invoices were not issued by Translucent; and that he, Mr. Schmulian, never signed the

Assignment Letter. A true and correct copy of this email is attached hereto as Exhibit 14.

       18.      Defendant Greene responded in a series of emails on June 3rd and 4th to

Translucent's demand, continuing to pretend as if there was a legitimate sale of goods and that




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Translucent should simply return them to Defendants to get rid of the AmeriFactors debt. On

June 3, 2008 Defendant Greene stated :

        The only way for us to credit the account is for you to send back the goods. We
        will issue a full refund and take full responsibility. You are not liable if you send
        the goods back. It then becomes our debt. I told AmeriFactors that we extended you
        120 days based on their paperwork. it is 100% our fault and we will take the full
        blame. this is an easy solution, I can have [my attorney] David Sellman send you
        the release prior to shipping. Ship it immediately though….Don't do anything that
        can't be undone, just send the phones back!

Early the next morning on June 4, 2008 at 2:04 AM, Defendant Greene further stated:

        I won't be available until tomorrow night, any way to hold off your issue until then?
        Don't let these guys scare you. If you return the goods and we accept them the
        liability is on us. And I will sign a document attesting to that.

Finally, on the evening of June 4, 2008, Defendant Greene made one final plea for Translucent to

"return the phones."

        I agree that we should not do anything that is considered illegal. TLC is setting a
        good example and I feel all my companies should follow in TLC's footsteps. Since
        we are doing everything now completely by the book. . . . It is not in our best
        interest to do anything that would harm our company. . . . I have Someone prepared
        to loan me the $600k at a ungodly interest rate as well as 5% of Movida to "pay off
        the debt" to the factor. This is my backup, It would kill me to give anything away
        after all of the hard work I have done. As I mentioned before. because I
        untentionally (sic) mislead you on the payment terms and due to the harassing
        nature of the phone calls you are receiving I will credit you the complete invoice as
        soon as the phones land in my warehouse.

True and correct copies of the relevant emails are attached hereto as Exhibit 15.

        19.      Defendant Greene admitted in his deposition that the goods referenced in the

Invoices were never shipped to Translucent, and thus there were never any phones for

Translucent to ship back to APC Wireless. See Greene Dep. at 217:16-218:13.8




8
  As further evidence that Defendants never shipped the goods, on June 2, 2009, Defendant Greene oddly offered to
Translucent to ship the goods listed on the Invoices despite this pending litigation. A true and correct copy of this
letter is attached hereto as Exhibit 16.


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        20.      Defendants admit complete responsibility for the debt owed to AmeriFactors.9

Greene Dep. 134:15-137:4, 172:4-5, 205:16-207:19, 211:7-213:4, 216, 230:16-233:5, 269:6-11.

        21.      In an effort to satisfy the outstanding debt owed to AmeriFactors by APC

Wireless and Defendant Greene, AmeriFactors, Defendants APC Wireless and Paul Greene,

(individually), entered into an agreement in which Defendants Greene and APC Wireless agreed

to pay AmeriFactors the debt which AmeriFactors now seeks from Translucent in this action. See

Exhibit 17; see also Greene Dep. at 230:3-233:5. Translucent is not a party to the Settlement

Agreement. See id. Defendants are currently making payments to AmeriFactors to settle the

outstanding debt on the invoices in Translucent's name. Greene Dep. 230:3-233:5; Exh.8. Even

so, AmeriFactors continues to hold Translucent liable for the debt and the lawsuit against

Translucent in Florida continues.

        22.      Translucent has suffered a number of compensable losses as a direct result of

Defendants actions:

              Translucent is being sued in Florida by AmeriFactors for the full amount of the

              $1,267,964.26 debt created by the Invoices, and as a result has been forced to retain

              advice of counsel to defend itself in that case at extreme expense. Schmulian Dep.

              214:9-12.

              Translucent lost a $450,000 investor, Marc Green (no-relation to Defendant Greene),

              who was unwilling to commence his agreed-upon purchase of 38% of Translucent

              shares due to the litigation hanging over Translucent. See Affidavit of Marc Green,

              attached hereto as Exhibit E; Schmulian Dep. 253:17-255-17.


9
  Q. Did [Translucent's President Brett Schmulian] have the phones? A: He did not have the phones.
Q. Why did you say "it was a hundred percent our fault."? A: Because, as I said from the beginning, I don't believe
this is his debt. This is my debt. And, just is what it is.
Q. And why did you say, "We will take full blame."? A: Because it's our debt. Greene Dep. 216:6-15.


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             Translucent has been unable to obtain bank-financing because of the litigation

             hanging over Translucent. Schmulian Dep. 252:20-253:1.

             Defendants' Improper Use of Domain Name and Translucent's Mark

       23.      Translucent Communications is the trade name used by Plaintiff Translucent

Communications, LLC to offer goods and services related to the cellular telephone industry. See

Exh. 8 at Response to Request 15. Schmulian Dep. 191:18-192:7.

       24.      Defendants do not have any right to use the names and marks Translucent and

Translucent Communications for use in the sale of telephones, mobile devices and related

equipment. See Exh. 8 at Response to Request 16.

       25.      Prior to October 6, 2008, Translucent Communications operated a website at the

domain translucentcommunications.com on which it actively marketed its goods and services.

Schmulian Dep. 233-13-239:7; Greene Dep. 234:8-236:3; Bahreini Dep. 123:9-124:7, Toledo

Aff. ¶18.

       26.      On or about October 6, 2008, Defendants changed or caused to be changed the

registration Translucent's domain name such that the website automatically redirected all internet

traffic to Defendants' website apcwireless.com. See Exhibit 18 attached hereto. Greene Dep.

235:10-236:1, Toledo AFF ¶18. Schmulian Dep. 236:10-238:17.

       27.      On or about October 6, 2008, Defendants provided or caused to be provided

materially false contact information to the domain registrar, listing Paul Greene as Registrant of

the Translucent Communications website, and disabling Translucent from accessing its website

and making any changes to it. See Exhibit 18.

       28.      On October 7, 2008, Mr. Schmulian contacted the domain Registrar,

Register.com, and requested that the translucentcommunications.com domain be returned to




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Translucent.   Register.com ultimately determined that it could not return the domain to

Translucent without a court order. See id.

       29.     The domain translucentcommunications.com continues to divert all internet traffic

to apcwireless.com. See Affidavit of Birte Hohne ("Hohne Aff.") attached hereto as Exhibit F.

       30.     As a result of the taking of the domain by Defendants, Translucent was forced to

create a new webpage at a new domain at Translucent's expense, and has lost an unknowable

amount of business due to the redirection of all incoming internet traffic to the

translucentcommunications.com domain. Schmulian Dep. 240:15-17.

                                         ARGUMENT

       Under Federal Rule of Civil Procedure 56(c), a court is to grant summary judgment when

"no genuine dispute of material fact exists and the moving party is entitled to judgment as a

matter of law." Asher v. United Airlines, 70 F. Supp. 2d 614, 616 (D. Md. 1999) (citing Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986)). The non-moving party’s opposition must

consist of more than mere unsupported allegations or denials and must be supported by affidavits

or other competent evidence setting forth specific facts showing that there is a genuine issue for

trial. FED. R. CIV. P. 56(e); Celotex Corp, 477 U.S. at 324. The nonmovant needs more than "a

mere scintilla of evidence" in support of its position to defeat the motion. Malek v. Leavitt, 437

F. Supp. 2d 517, 523 (D. Md. 2006)(quoting Detrick v. Panalpina, Inc., 108 F.3d 529, 536 (4th

Cir. 1997)). If the non-movant’s evidence is “merely colorable” or “not significantly probative,”

summary judgment may be granted. Anderson, 477 U.S. at 249-50.

I. Translucent is Entitled to a Spoliation Inference Due to Defendants' Failure to Preserve
   Relevant Documents and Reasonable Attorneys' Fees.

       Translucent is entitled to a spoliation inference as to the non-existence of the original

"Nextel Phones Invoices" email purporting to contain a fax that AmeriFactors relied upon to bind



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Translucent to the Invoices. The original, un-forwarded "Nextel Phones Invoices" email from

Daniel Toledo to Sam Bahreini has never been located. The absence of this original email is

probative because Defendants sent this purported email on to AmeriFactors with the subject line

"fax," binding Translucent to pay the value of the Invoices to AmeriFactors. Translucent has no

record of ever sending it and Defendants have never located it. Moreover, throughout the course

of this litigation, Defendants have sent Translucent on a number of fools errands to obtain other

relevant requested documents, including specifically the "Nextel Phones Invoices" email.

        First, Translucent asked for the original email via discovery request, yet Defendants

produced nothing more than 50 printed pages of irrelevant or unintelligible Gmail emails. See

Translucent's Motion to Compel (Dkt. No. 29) and Order of August 10, 2009 (Dkt. No. 48).10

Next, after failing to produce requested documents, Defendants alerted Translucent to a

heretofore unexplained and conveniently-timed data-breach and document spoliation. Greene

Dep. 246:22-250:6.11 Then in response, Defendants hired a now-disqualified expert witness, Mr.


10
   The August 10 Order of this Court reads in pertinent part:
          Plaintiff’s Supplemental Memorandum in Support of its Motion to Compel Production of
          Documents and Things (Document No. 29) is GRANTED. Defendants are ordered to produce all
          documents responsive to Translucent’s Request for Production, including electronically stored
          information in the form requested by Translucent with accompanying metadata. Additionally,
          Defendants must provide a privilege log and supplement their Response to adequately explain the
          disposition of documents that were formerly in their possession, custody, or control, but which
          have been lost or destroyed. Defendants must produce the above documents and things within
          twenty (20) days of this Order. (Dkt. No. 48).
11
   Q. So tell me, when you knew there was a lawsuit, did you realize you had a duty to preserve data?
A Um, yeah.
Q. Okay. Did you preserve data?
A I mean, we didn't do anything differently.
***
Q. What's Mr. Katzen doing?
A He went back and he is attempting to recreate Sam Bahreini's hard-drive. And Sam Bahreini, when he was
fired he came in and tried to wipe his hard-drive. He had made a copy and taken it home and then he went in and
attempted to wipe out the hard-drive.
Q. What about the server, has anybody tampered with the server?
A He deleted all his files, and anything, all our company files. He deleted all our financials. He went in and
deleted everything.
Q. He being Sam?
A Sam Bahreini, yes.


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Blazer Catzen, to search for the email, who was ultimately also unable to locate it. Catzen Dep.

at 36:21-37:8; see also Exh. 7. This Court then granted Translucent's Motion to Compel,

ordering Defendants to produce all requested electronically stored information and metadata.

See Dkt. No. 48. In response to this Court's Order, Defendants engaged in an electronic "data

dump" of largely irrelevant electronically stored information, with the notable exception of data

from Defendant Paul Greene. Translucent's attorneys searched the data (a great deal of which

was produced on corrupted CD's) and once again found nothing. See Affidavit of Krupesh Patel

attached as Exh. G. In sum, on the eve of summary judgment, Defendants failed to produce the

"Nextel Phones Invoices" email in original form, have not disclosed a single shred of evidence

from Defendant Paul Greene himself other than a few incomplete Gmail messages, and have

disclosed no paper documents from APC Wireless whatsoever. See Dkt. No. 51 and 52.

         Insofar as Defendants continue to be unable to locate a critical piece of evidence, the

original "Nextel Phones Invoices" email, a spoliation inference in favor of Translucent is clearly


Q. Okay.
A We know this because we know the IP address in his house and, you know, when Rami was still there
he was able to trace it, as are the FBI.
Q. And so how did the FBI get involved?
         MR. MIXTER: Let -- I think we've gone far enough on that subject. I don't think you really – I mean, I
         understand your spoliation inquiry. That's the whole point here --
         MR. BROOKE: Right.
         MR. MIXTER: -- but that goes to what efforts they made to ask about to preserve and the like and I don't
         think it goes to an FBI investigation of what is alleged to have happened vis-a-vis certain data.
         BY MR. BROOKE:
         Q. Well, I would like to ask, what led you to go to the FBI?
         MR. MIXTER: I'm going to instruct him not to answer. And the reason I'm doing that is because I don't
         want it to come full circle.
         MR. BROOKE: Al right.
         MR. MIXTER: You understand what I'm saying?
BY MR. BROOKE:
Q. At what point did you realize there had been tampering or destruction?
A The day he left.
Q. Immediately?
A Later that night. I mean, what had happened is I had gone in and after about an hour I was on his computer. It
was acting kind of weird so I went in and I unplugged his computer and just left it. But at that point it was too late.
Then he attacked our servers. He's a pretty, you know, technical savvy guy, a lot more so than me.
Q. All right. So tell me what happened. When did you dismiss him?
A Sometime in February.


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warranted at this time. As Magistrate Judge Grimm recently held, "the failure to preserve

electronic or other records, once the duty to do so has been triggered, raises the issue of

spoliation of evidence and its consequences.” Goodman v. Praxair Servs., 632 F.Supp.2d 494,

505 (D. Md. July 7, 2009), citing Thompson v. U.S. Department of Housing & Urban

Development, 219 F.R.D. 93, 100 (D. Md. 2003). A court's authority to levy sanctions on a

spoliator derives from (1) the “court's inherent power to control the judicial process and

litigation, a power that is necessary to redress conduct ‘which abuses the judicial process” and

(2) Rule 37 if the spoliator violates a specific court order. Id. at 505-506. Where spoliation

occurs, a court may impose a variety of sanctions, ranging from dismissal or judgment by

default, preclusion of evidence, imposition of an adverse inference, or assessment of attorney's

fees and costs. Goodman, 632 F.Supp.2d at 506 (granting adverse inference).

       Here, an adverse inference is clearly warranted, as Defendants have repeatedly been

unable to locate the "Nextel Phones Invoices" email, and therefore unable to prove that it was

ever sent by Translucent and received by Defendants. Defendants admit that they knew of their

duty to preserve all electronic evidence and failed to do so. Greene Dep. 246:22-250:6. Further,

Defendants were unable to comply with this Court's August 10, 2009 Order to produce all

requested evidence, and thus have violated it. (Dkt. No. 51, 52). As a result, this Court should

infer that because the "Nextel Phones Invoices" email was not produced, it is reasonable to

assume that it never existed in the first place, and is a fabrication of Defendants.

       Translucent requests this Court to order Defendants to pay Translucent's costs and

attorneys fees related to the portions of their previously filed Motion to Compel, related

proceedings, and efforts to search through Defendants' recent "data dump" pursuant to this

Court's inherent authority and Rule 37(c)(1)(A). See id at 524. See also Broccoli v. Echostar




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Commc'ns Corp., 229 F.R.D. 506, 509-10, 513 & n.7 (D.Md.2005)(ordering defendant to pay

attorneys' fees including those for “client, third party and intra-office meetings with attorneys”

and “time charged for drafting and editing the motion”); Zubulake v. UBS Warburg, LLC, 220

F.R.D. 212, 222 (S.D.N.Y.2003)(ordering defendant to “bear [plaintiff's] costs for re-deposing

certain witnesses for the limited purpose of inquiring into issues raised by the destruction of

evidence”); Chan v. Triple 8 Palace, Inc., 2005 WL 1925579, at *4 (S.D.N.Y. 2005)(“The most

appropriate sanction is ... an adverse inference against the defendants.... The plaintiffs are also

entitled to an award of the costs, including attorneys' fees, that they incurred in connection with

this motion.”); Leon v. IDX Sys. Corp., 2004 WL 5571412, at *5 (W.D.Wash. 2004) (requiring

spoliator to pay reasonable expenses it “incurred investigating and litigating the issue of the

spoliation”). Translucent expended a great deal of time and money in a fruitless attempt to

recover documents from Defendants. To the very end, Defendants appeared to cooperate just

enough to get by, yet simply failed in their duty to preserve documents and continually attempted

to shift the costs of discovery upon Translucent. At the end of discovery, Defendants simply

must be accountable for such transgressions upon Translucent and this Court.

II. Defendants Fraudulently Induced Translucent Into Inaction Causing Translucent to be
    Held Liable for a Debt of $1,267,964.26.

       Defendants made repeated false representations of material fact to Translucent stating

that Defendants APC Wireless and Paul Greene would take responsibility for, and pay, the

amount owned under the Assignment Letter.            A misrepresentation is found where (1) the

defendant made a false representation to the plaintiff, (2) the falsity of the representation was

either known to the defendant or the representation was made with reckless indifference to its

truth, (3) the misrepresentation was made for the purpose of defrauding the plaintiff (4) the

plaintiff relied on the misrepresentation and had the right to rely on it, and (5) the plaintiff



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suffered compensable injury as a result of the misrepresentation. Hoffman v. Stamper, 867 A.2d

276, 292 (Md. 2005). See also Goldstein v. Miles, 859 A.2d 313, 331-32 (Md. Ct. Spec. App.

2004); Swinson v. Lords Landing Village Condominium, 758 A. 2d 1008 (Md. 2000) (setting

forth elements for fraud and for negligent misrepresentation).

       First, Defendants made repeated false representations to Translucent that they would take

responsibility for, and pay, the AmeriFactors debt, yet have failed to take affirmative steps to do

so. These representations include:

           "The invoices you are signing are the complete responsibly of APC not
           Translucent." See Exh. 5.

           "All payments incurred from AmeriFactors will be paid in full by
           APCWireless." See id.

           "Any losses incurred arising from any loss to Translucent/Brett Schmulian
           will be covered by APCWireless in reference to AmeriFactors invoices for
           factoring. I am will (sic) put up APCWireless as collateral." See id.

           "The only way for us to credit the account is for you to send back the goods.
           We will issue a full refund and take full responsibility. You are not liable if
           you send the goods back. It then becomes our debt. I told AmeriFactors that
           we extended you 120 days based on their paperwork. it is 100% our fault
           and we will take the full blame." See Exh. 15.

       Second, Defendants' false representations were made knowingly, or in the very least, with

reckless indifference to the truth. Defendants have admitted under oath that the debt belongs to

them, not to Translucent. Greene Dep.216:8-19. Defendants' admission, combined with its

inaction in not paying AmeriFactors the full amount due on the Invoices, demonstrates that the

false statements that they would take responsibility for and pay off the debt were made

knowingly. Moreover, Defendants' statements were clearly false in saying that Translucent

would be absolved of the debt if it sent the goods back. Defendants admit that no goods were




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ever shipped in the first place.12 Finally, Defendants admit that they have made payments to

AmeriFactors as part of an independent agreement that did not release Translucent from the

AmeriFactors debt. See Exh. 8.

         Reckless indifference as to truth arises when a defendant "makes the representation even

though aware that he does not know whether it is true or false—where he knows that he lacks

knowledge as to its truth or falsity—and nonetheless makes the representation without regard to

that lack of knowledge." See Hoffman, 867 A.2d at 300 (citing Ellerin v. Fairfax Savings, 652

A.2d 1117, 1125 (Md. 1995)). At the time Defendants stated that "the invoices [were] the

complete responsibly of APC not Translucent," it is obvious that Defendants made such

representation without knowledge of whether it was true or false. Today, Translucent continues

to be held liable for the complete amount of the invoices by AmeriFactors, as evidenced by

AmeriFactors' lawsuit against Translucent in Florida. Defendants did not have the authority or

ability to make such representations to Translucent, and AmeriFactors continues its lawsuit

against Translucent despite receiving direct payments from Defendants.                                       Defendants

demonstrated "reckless indifference" to the truth by failing to follow through on their

representations, and making flatly false assertions that it would take responsibility for the

AmeriFactors debt.

         Third, the misrepresentations were made for the purpose of defrauding Translucent so

that Translucent would not alert AmeriFactors as to the invalidity of the AmeriFactors debt.

12
  A. Basically, Paul is telling Brett to send the goods back and, you know, don't do anything that can't be undone,
just send the phones back, . . . it's 100 percent our fault and we will take the full blame, this is an easy solution, I can
have [my attorney] David Sellman send you a release prior to shipping, but ship it immediately, though.
Q: Why is he telling him to ship back these phones?
A: I have no idea.
Q: Were there any phones to ship back?
A: No.
Q: No phones were ever shipped; correct?
A: No phones were shipped to Brett or from Brett at Translucent.
Bahreini Dep. 115:2 to 115:17.


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Defendant Greene acknowledged at his deposition that the statements were made explicitly for

the purposes of defrauding Translucent into inaction:

       Q: Do you know why you said that you put up APC as collateral?
       A: Probably to calm him down.
       Q: Why was he upset?
       A: He wasn't upset. He was just nervous.
       Q: Why was he nervous?
       A: Don't know. He's a nervous person.
       Greene Dep. 136:7-16.

       Q: Now, why do you think this was a problem?
       A: Well, obviously Brett's upset. He hadn't sold the phones. I hadn't paid -- even
       though the invoices are not 1.2 million, I had not paid back AmeriFactors. We
       assumed from our receivables that we would be able to pay them back but we didn't
       know when we purchased the companies that we wouldn't be able to collect any
       money for three weeks but still be responsible for all the billing, which is exactly
       what happened.
       Greene Dep. 212:19-213:12

       Q: Why did you tell him to send the phones back?
       A: This I believe is an e-mail that me and Brett orchestrated to try to get him to
       return the phones so that the debt would become ours and not his.
       Q: Did he have the phones?
       A: He did not have the phones.
       Q: Why did you say "it was a hundred percent our fault."?
       A: Because, as I said from the beginning, I don't believe this is his debt. This is
       my debt. And, just is what it is.
       Q: And why did you say, "We will take full blame."?
       A: Because it's our debt.

       Greene Dep. 216:1-15.

Mr. Bahreini, who was then APC Wireless' Vice President, agreed that Defendants made such

false assertions for the purpose of defrauding Translucent into inaction:

       Q:   So why did Paul want to show [a breakdown of the percentage fees that
       AmeriFactors would collect if invoices were certain days past due], to Brett?
       A To show he had 120 days to take care of this, not just 30.
       Q: Did Paul expect Brett to take care of it?
       A No, Paul expected Paul to take care of it.
       Q: So why did he send this to Brett?
       A To calm Brett down.
       *     *       *



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       A Basically, AmeriFactors was attempting to collect invoices within net 30 terms.
       Paul was trying to make Brett think that he had up to 120 days in order to keep
       Brett silent from raising any flags and give Paul 120 days to figure out a way to pay
       off the debt with AmeriFactors. . . .
       Bahreini Dep. 109:11-111:14.

       Fourth, Translucent reasonably relied upon Defendants' repeated assurances that they

would take responsibility for, and pay, the AmeriFactors debt.           Mr. Schmulian confronted

Defendant Greene shortly after he realized that Defendants' actions had improperly bound

Translucent to the AmeriFactors debt. In response, Defendant Greene again stated that

Defendants would "take care of" the AmeriFactors debt.

       Q:    What -- what did you talk to Mr. Greene about? What did you say to him?
       What did he say to you?
       A: I asked him what was this. I told him I never agreed to do this. I, in fact,
       adamantly said I would not do this, nor would anyone in my company. I told him to
       take care of it immediately. He said not to worry, he will take care of this. He
       needed a couple of days to pay whatever this was. And that was the basis of our
       discussion.
       Q: Did you ever discuss anything about what purports to be your signature on this
       document, that is, whether you signed it or somebody else signed it, and, if so, who it
       was? Any discussion about that?
       A: No. I said to him this isn't -- we didn't do this. We never signed the document.
       We never received any goods. We never agreed to this transaction. We never agreed
       to do this. Adamantly said not to do this. So did Daniel Toledo. So why was it
       done?
       Schmulian Dep. 210:10-211:8.

       In determining whether the reliance was reasonable, the background and experience of

the party that relied on the representation is relevant. Goldstein, 859 A.2d at 333 (citing Parker

v. Columbia Bank, 604 A.2d 521 (Md. Ct. Spec. App. 1992). Indeed, Maryland has long

recognized that "misrepresentation need not have been the only motivation for the plaintiff's

actions; it is sufficient that the misrepresentation substantially induced the plaintiff to act." Nails

v. S & R, Inc. 639 A.2d 660, 669 (Md.1994)(citing McAleer v. Horsey, 35 Md. 439, at 453 (Md.

1872)(“the plaintiff mainly and substantially relied upon the fraudulent representation, he will




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have his action for damages, though he was in part influenced by other causes.”). Here, the

parties had a prior business relationship such that Defendant Greene was a founding partner in

Translucent. See Exhibit 19 attached hereto. Prior to this litigation Defendant Greene and Mr.

Schmulian cultivated a business relationship of trust and confidence. Moreover, Translucent

repeatedly asked for and received assurances that Defendants, and not Translucent, would be

responsible for paying the AmeriFactors debt, and Translucent placed its trust and confidence in

these assurances.

       Finally, Translucent has met its burden that it “suffered compensable injury resulting

from the misrepresentation.” See Hoffman, 867 A.2d at 300 (citing VF Corp. v. Wrexham

Aviation, 715 A.2d 188, 193 (Md. 1998)); see also Environmental Trust v. Gaynor, 803 A.2d

512, 516 (Md. 2002). These damages included the loss of Marc Green as a $450,000 investor due

to the Florida lawsuit, the resultant legal fees from being sued by AmeriFactors in Florida state

court, and Translucent's inability to obtain bank financing due to the lawsuit:

       Q: The entire lawsuit. What are your damages?
       A: I believe over $1 million.
       Q: All right. Can you break it down into categories?
       A: Loss of investor. Inability to increase the line of credit at the bank due to a
       pending lawsuit. Inability to generate profits based on investor not investing in the
       company, which is future earnings. The removal of any loans from private equity that
       have been withdrawn due to the lack of or inability of removal of this lawsuit or
       lawsuits. Again, the -- the loss of business from inability to increase lines of credit at
       the bank from this lawsuit.
                       *      *       *
       A: Okay. Our inability to generate additional profits based on our inability to -- to
       -- to generate the profits from the investor or the line of credit from the bank. That's
       off the top of my head.
       Schmulian Dep. 252:10-253:15.

       While fraud must be proven by the standard of clear and convincing evidence, related to

damages, what must be proven by that standard is that some compensable injury arose from the

deceit, not however, the measure of the damages required to compensate for that injury. Id.



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Since Translucent has demonstrated a compensable injury due to Defendants' fraudulent

statements, it has met its burden.13                  Therefore, this Court should award Translucent

compensatory damages, and to punish Defendants for their deliberate and willful

misrepresentations, award punitive damages as this Court deems just.

III. Translucent Reasonably Relied on Defendant's Clear and Definite Promise to Cover All
     Losses Suffered by Translucent Due to Translucent Being Held Liable for a Debt of
     $1,267,964.26.

         Concurrent with the fraudulent misrepresentation, Defendants made a clear and definite

promise to Translucent that "any losses incurred arising from any loss to Translucent/Brett

Schmulian will be covered by APCWireless in reference to AmeriFactors invoices for factoring.

I am will (sic) put up APCWireless as collateral." See Exh 5.                     Defendants' promise to cover

losses incurred by Translucent in reference to the AmeriFactors Invoices was intended to induce

Translucent into silence and not notify AmeriFactors of what was clearly a fraudulent

transaction.

         The standard for detrimental reliance requires evidence of a promise, reasonable and

foreseeable reliance on the promise, and injury sustained as a result of reliance on the promise.

Pavel Enters., Inc. v. A.S. Johnson Co., 674 A.2d 521, 532 (Md. 1996). Maryland courts follow

the four-part test articulated in the Restatement (Second) of Contracts §90(1) (1979), which

requires:

         (1) a clear and definite promise;

         (2) where the promisor has a reasonable expectation that the offer will induce
         action or forbearance on the part of the promisee;

         (3) which does induce actual and reasonable action or forbearance by the
         promisee; and


13
 Upon the granting of this Motion, Translucent will tender its legal bills incurred in the Florida lawsuit to
Defendants, or otherwise as the Court so directs.


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       (4) causes a detriment which can only be avoided by the enforcement of the
       promise.

Id. at 532; see also Union Trust Co. of Md. v. Charter Medical Corp., 663 F.Supp. 175, 178 n. 4

(D.Md.1986) aff'd w/o opinion, 823 F.2d 548 (4th Cir.1987).

       Defendants promised to pay for all losses suffered by Translucent in reference to the

AmeriFactors Invoices, as well as the amounts listed on the Invoices themselves. A “clear and

definite promise” is described as “one that reasonably defines the contours of the action.”

McKenzie v. Comcast Cable Commc'ns., Inc., 393 F.Supp.2d 362, 372-73 (D.Md. 2005). The

April 11, 2008 email from Paul Greene to Translucent's President, Brett Schmulian, clearly

defines that contours of the promise:

      Brett,
      Any losses incurred arising from any loss to Translucent/Brett Schmulian
      will be covered by APCWireless in reference to AmeriFactors invoices for
      factoring. I am will put up APCWireless as collateral. The invoices you are
       signing are the complete responsibly of APC not Translucent. All payments
       incurred from AmeriFactors will be paid in full by APCWireless.
       Paul Greene
See Exhibit 5.

       Second, Defendants reasonably expected that the promise would induce Translucent into

inaction. Defendants' reassurances to Translucent during the subsequent weeks after making the

promise demonstrated that Defendants expected Translucent to remain quiet to allow Defendants

more time to pay off their debt to AmeriFactors. Bahreini Dep. 109:11-111:14.          Indeed,

Defendant Greene admitted that the purpose of the promise was to convince Translucent not to

speak up and alert AmeriFactors to the fraudulent nature of the transaction in order to give

Defendants additional time to pay the money owed to AmeriFactors on the Invoices:

       Q: Do you know why you said that you put up APC as collateral?
       A: Probably to calm him down.
       Q:. Why was he upset?
       A He wasn't upset. He was just nervous.



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        Greene Dep. 136:7-16; see also Bahreini Dep. 109:11-111:14.

        Third, Defendants' promises actually induced Translucent into inaction. For example,

upon receiving notice of AmeriFactors' purchase of the Invoices on April 15, 2008, Translucent

immediately forwarded the correspondence to Defendants and inquired as to when Defendants

planned on paying off the Invoices. See Exhs.11 and 12. Translucent ignored phone calls and

messages from AmeriFactors based upon the representations.      Schmulian Dep. 282:6-283:4.

        Finally, Defendants' promise and Translucent's reliance upon it has caused Translucent

great detriment, which may only be remedied through enforcement of the promise. Translucent

has suffered the extreme injustice and expense of being held liable by AmeriFactors for the full

amount of the Invoices, as well as the cost, expenses, and attorneys' fees from fighting a

frivolous litigation in Florida state court in reference to the same AmeriFactors Invoices. Greene

Dep. 216:16-19, Schmulian Dep. 49:20-24. Therefore, in the interests of justice, this Court

should enforce Defendants' promise and compensate Translucent for the losses it has incurred as

a direct result of Defendants' actions, including its attorneys fees and costs related to defending

the Florida litigation.

IV. Defendants Must Indemnify Translucent for All Past and Future Losses as a Direct
   Result of Defendants' Actions Relating to the Debt of $1,267,964.26.

        Maryland law recognizes a right to indemnity, independent of a contract, where the

character of one tortfeasor's conduct is significantly different from that of another who is also

liable for the same damages. Pyramid Condominium Ass'n v. Morgan, 606 F.Supp. 592, 595-96

(D.Md. 1985)(citing Blockston v. United States, 278 F.Supp. 576, 585 (D.Md. 1968);

Gardenvillage Realty v. Russo, 366 A.2d 101 (Md. Ct. Spec. App. 1976). For the purposes of this

Count only, the Court should assume that Translucent could be a "negligent party" insofar as the




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allegations of liability for the AmeriFactors debt in the Florida lawsuit. A party may be entitled

to receive indemnification where his own conduct, although negligent, is considered to be

passive or secondary. In Blockston, the district court determined that:


       The area in which a party held liable for negligence may pass that liability on to
       another negligent party is closely circumscribed. It encompasses a group of
       special situations and relationships where it has seemed reasonable to impose an
       ultimate responsibility on a party seeming to have played the active role in the
       negligence situation in favor of one who is made answerable to the injured party,
       but whose part in the event is passive or arises from the effect of public policy,
       contract, or status.

Blockston, 278 F.Supp. at 585 (quoting Guarnieri v. Kewanee-Ross Corp., 263 F.2d 413 (2d

Cir.1959)).

       A right to indemnity may arise where one party is vicariously liable for the conduct of

another person but did not participate in any way in the actions giving rise to the tort. See Prosser

and Keeton, Law of Torts § 51, at 341-42 (5th ed. 1984). Also, the Fourth Circuit noted in

Jennings v. United States, 374 F.2d 983, 987 n. 7 (4th Cir.1967) that:

       A right to indemnity is commonly recognized where, although both parties are
       negligent, the negligence of the indemnitee is not considered as serious as that of
       the indemnitor; for example, where the indemnitee's negligence is based upon a
       failure to inspect and thereby discover a defect in an article manufactured by the
       indemnitor.

Id. (citing 3 Moore, Federal Practice ¶ 14.11 (2d ed. 1964). Thus, it is abundantly clear that a

party may seek indemnification from another when its liability is passive or secondary, which

liability is rooted in the concept of imputed or constructive fault. Tesch v. United States, 546

F.Supp. 526, 529 (E.D.Pa.1982). Here, fault has been imputed to Translucent by AmeriFactors.

       First, Defendant Greene admitted under oath that APC Wireless never sold or delivered

any cell phone equipment to Translucent:

       Q:      All right. And what did you say? Slowly enough so the reporter can get it.



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       A:     "I won't be available until tomorrow night. Any way to hold off your issue
              until then? Don't let these guys scare you. If you return the goods and we
              accept them the liability is on us. And I will sign a document attesting to
              that."
       Q:     So, again, did he have the goods?
       A:     No, he did not.
       Q:     Why did you tell him to return them?
       A:     Because that would put the liability on us because if he did not have the
              goods, then on paper it would put liability back on us.
       Q:     Did you ever tell AmeriFactors that you had the goods?
       A:     I don't recall the conversation. I had very limited conversation with them.
              Sam handled them. I don't recall any of them.
       Q:     Did you ever tell, did you ever instruct Sam to tell AmeriFactors that you
              had the goods?
       A:     No, I did not. Not that –

Greene Dep. 217:16-218:13. Mr. Bahreini also confirmed that APC Wireless never sold or

shipped any telephones to Translucent:

       Q:     So you also mentioned that he factored -- that Mr. Greene factored invoices in
              relation to a sale to Translucent; is that right?
       A:     Yes.
       Q:     And was there a sale to Translucent?
       A:     Never.
       Q:     How did this come about?
       A:     How did what come about?
       Q:     How did the transaction with Translucent come about?
       A:     There was no transaction.
       Bahreini Dep. 46:7-17.

       A:     Basically, Paul is telling Brett to send the goods back and, you know, don't
              do anything that can't be undone, just send the phones back, we're finally
              seeing some relief on the Movida side, it's 100 percent our fault and we
              will take the full blame, this is an easy solution, I can have [my attorney]
              David Sellman send you a release prior to shipping, but ship it
              immediately, though.
       Q:     Why is he telling him to ship back these phones?
       A:     I have no idea.
       Q:     Were there any phones to ship back?
       A:     No.
       Q:     No phones were ever shipped; correct?
       A:     No phones were shipped to Brett or from Brett at Translucent.
       Bahreini Dep. 115:2-17.




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       Second, Translucent never agreed to pay any balance arising from the sale of the Invoices

to AmeriFactors, including the $1,267,964.26 outstanding debt alleged in AmeriFactors'

Complaint. Schmulian Dep. 66:7-10, 68:6-23, 210:20-212:10; Toledo Aff. at ¶¶ 10-11; Exh. 1 at

¶37. To the contrary, Mr. Greene admitted that he and APC Wireless were responsible for the

debt allegedly owed to AmeriFactors. Mr. Greene stated the following at his deposition:

       Q:      Why did you say "it was a hundred percent our fault?"
       A:      Because, as I said from the beginning, I don't believe this is his debt. This is my
               debt. And just is what it is.
       Q:      And why did you say, "We will take full blame?"
       A:      Because it's our debt.
       Q:      Why is APC getting, I mean -- excuse me. Why is Translucent getting sued in
               Florida, not you.
       A:      Uh, maybe because I don't have an office in Florida. I don't know. Not me suing
               them.

Greene Dep. 216:8-19.

       Q:      Now why are you paying AmeriFactors?
       A:      Because I owe them money.
       Q:      Why do you owe them money?
       A:      Because --
               Mr. Mixter: Same objection.
       Q:      And you can continue to answer.
       A:      Because we got the money and we owe them money.

Greene Dep. 230:16-231:231.

       Q:      Okay. You were very clear that as between APC and AmeriFactors its
               your belief that the debt that -- I'm going to call it debt -- that we have
               been discussing here today is owed AmeriFactors by APC, correct?
       A:      Correct.

Greene Dep. 269:6-11. APC Wireless' liability for the outstanding debt allegedly owed to

AmeriFactors by Translucent is further evidenced by Mr. Greene and APC Wireless' continued

payment of settlement funds to AmeriFactors. See Exhs. 8 and 17; Greene Dep. 230:3-233:5.

       Translucent has been unjustly sued in Florida state court by AmeriFactors for the full

amount listed on the Invoices. In that action, AmeriFactors alleges in essence that Translucent is



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vicariously liable for the conduct of Defendants regarding the debt listed on the Invoices. The

ultimate responsibility rests on Defendants for playing "the active role in the negligence" instead

of upon Translucent, which has been nothing more than a passive victim regarding the

AmeriFactors debt. Blockston, 278 F.Supp. at 585. See also Prosser and Keeton, Law of Torts §

51, at 341-42 (5th ed. 1984).

       Here, Defendants entered into a factoring agreement with AmeriFactors on false

Invoices. Defendants received a $600,000 cash advance on the Invoices. Defendants repeatedly

promised Translucent that they would take responsibility for paying the Invoices. Defendants

admit that it is their debt and not that of Translucent's. And Defendants have been actively

paying back AmeriFactors the balance of money-owed during the course of this very litigation.

Quite simply, Defendants' actions are patently unjust, and therefore, this Court should find that

because of Defendants' actions as the active negligent party, Defendants should be held to

indemnify Translucent as the passive negligent party for the full amount of $1,267,924.26, plus

Translucent's legal fees and costs Translucent has incurred in the ongoing litigation in Florida.

V. Defendants Converted Translucent's Internet-Domain for its Own Use and Deprived
   Translucent of it.

       Defendants are liable for conversion under Maryland law based on its taking and

wrongful possession of Translucent's domain name, translucentcommunications.com, including

depriving Translucent access to its emails sent to the domain. Exh. 1 at ¶¶ 51-57. Conversion is

an intentional tort consisting of a physical act and a certain state of mind. Darcars Motors of

Silver Springs, Inc. v. Borzym, 841 A.2d 828, 835 (Md. 2004). The physical act may be "any

distinct act of ownership or dominion exerted by one person over the personal property of

another in denial of his right or inconsistent with it." Id. at 261 (quotation omitted). See also

Inmi-Etti v. Aluisi, 492 A.2d 917, 920 (Ct. Spec. App. 1985). "[T]he gist of a conversion is not



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the acquisition of the property by the wrongdoer, but the wrongful deprivation of a person of

property to the possession of which he is entitled." Borzym, 841 A.2d at 836 (quotation omitted).

         The intent element of the tort of conversion requires simply that the defendant have "an

intent to exercise a dominion or control over the goods which is in fact inconsistent with the

plaintiff's rights." Keys v. Chrysler Credit Corp., 494 A.2d 200, 208 (Md. 1985). Indeed, "[t]he

defendant may have the requisite intent even though he or she acted in good faith and lacked any

consciousness of wrongdoing, as long as there was an intent to exert control over the property."

Borzym, 841 A.2d at 836. Thus even "[a] purchaser of stolen goods . . . who sells them in the

utmost good faith becomes a converter, since the [] acts are an interference with the control of

the property." Keys, 494 A.2d at 208. "A mistake of law or fact is no defense." Id.

         Here there is no dispute that Defendants took control of Translucent's domain,

translucentcommunications.com, which had been in use by Translucent since 2005. See Exh. 18.

On October 6, 2008, Defendants possessed the domain against Translucent's rights, redirected

internet users to the website of APC Wireless, and deprived Translucent of access to its emails

from the domain.14 See Exh. 18. See Borzym, 841 A.2d at 835. Moreover, even if Defendant


14
   A [O]ver a period of a couple of days we started not receiving any e-mails. We were able to send out e-mails
and then that stopped. Customers were calling to complain that the Website which was
translucentcommunications.com was going to another company called APC Wireless. And what was going on.
Was everything okay. A lot of the different complaints that came in. To what extent had this taken place in terms of
e-mails not being delivered or – or not correctly being delivered, or not being sent, I don't know. I know it happened
over a period of a couple of days. In a business that we have, which relies very heavily on e-mails, specifically for
stock offers, selling of inventory, of course specifically because we sell heavily to Latin America and e-mail is
usually a very efficient way to do business, it -- it – it interrupted our business tremendously. And that's from what
we've found out from the clients. Damage control took place a few days later. When people were going to
translucentcommunications.com they were being directed to APC Wireless. So if I was a potential client going to
Translucent Communications and went to APC Wireless, look up the number there and call APC Wireless and not
Translucent. So Translucent Communications was a Website that belonged to Translucent Communications for the
purpose of doing business as Translucent Communications. All the e-mails that were being sent back and forth were
intended for either the partners or employees of Translucent Communications, and we weren't receiving those e-
mails because Paul Greene, or someone at his office had taken the registration of Translucent Communications over
and pointed that towards APCWireless.com, along with all of our e-mails and domain and URL. So from that
standpoint it interrupted our business flow for -- you know, immediately for a couple of days, if not a week. And
moving forward, customers that we hadn't spoken to or hadn't, you know, dealt with in awhile may have fallen off
the face of the earth because they couldn't reach us in terms of an e-mail or to go to our Website.


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Greene perceived in good faith that he was owed money for part of the website's aesthetic

content as a former Translucent founding partner, it does not follow that either he or APC

Wireless had the right to deprive Translucent from the use of the domain name as a result.15

Notwithstanding, Translucent has paid for the aesthetic content on the website. See Exhibit 20

attached hereto. Therefore, Defendants are liable to Translucent for conversion of the domain

translucentcommunitions.com, and should be ordered to compensate Translucent $50,000 for

damages caused, as well as ordered to transfer the domain back to Translucent's control.

        On October 7, 2008, Mr. Schmulian contacted the domain Registrar, Register.com, and

requested that the translucentcommunications.com domain be returned to Translucent.

Register.com advised that it could not return the domain to Translucent without a court order.

As a result of the taking of the domain by Defendants, Translucent was forced to create a new

webpage at a new domain at Translucent's expense, and has lost an unknowable amount of

business     due     to    the     redirection     of        all   incoming    internet     traffic    to    the

translucentcommunications.com domain.

VI. Defendants Improperly Used Translucent's Mark in Violation of 15 U.S.C. § 1125.

        In conjunction with Defendants' taking over of Translucent's domain name,

translucentcommunications.com, Defendants also caused the domain to point to Defendants'

active website apcwireless.com. The resulting effect of Defendants' actions is that whenever an



Schmulian Dep. 236:10-238:17.
15
   Q. Why did you make a change on October 7?
A Because Brett had not paid his half of the Web site. So, I pointed the Web site to my Web site hoping he would
pay his half of the Web site, which he laughed at, never did. He was using my material on his Web site.
Q. How is it your material, the content?
A The content, we paid for it, we built it. It was our exact Web site. All he did was change the contacts and the
name on the Web site. It was an exact copy of our Web site.
Q. Why didn't you just close down the Translucent Communications Web site?
A At the time I don't remember. I think Rami Mansour did it. He had it pointed somewhere. I don't know. It
wasn't -- I don't remember.
Greene Dep. 235:10-236:1; see also id at 74:16-75:7.


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internet user points the internet browser to translucentcommunications.com, the user is redirected

to the content of APC Wireless' active website, though the domain remains static at

translucentcommunications.com. See Hohne Aff. ¶¶3-5. These acts constitute clear Trademark

infringement in violation of 15 U.S.C. §1125(a), as well as a violation of the Anti-

Cybersquatting Consumer Protection Act, 15 U.S.C §1125(d).

       Actions comparable to that of Defendants's use of the Translucent domain have been held

to be infringement. See People for the Ethical Treatment of Animals v. Doughney ("PETA"), 263

F.3d 359, 364 (4th Cir. 2001)(defendant's use of peta.org infringed the animal rights group's

mark); OBH, Inc. v. Spotlight Magazine, Inc., 86 F.Supp.2d 176, 183 (W.D.N.Y. 2000)(even

though defendant's website thebuffalonews.com parodied plaintiff's mark "The Buffalo News" it

was still liable for infringement because it was "likely to prevent or hinder internet users from

accessing plaintiffs' services on plaintiffs' own web site"); Planned Parenthood Federation of

America, Inc. v. Bucci, 1997 WL 133313 (S.D.N.Y. 1997)(defendant's registration of the domain

plannedparenthood.com and website antithetical to plaintiff's views infringed plaintiff's mark).

       First, any plaintiff alleging trademark infringement must first prove that (1) it possesses a

mark; (2) that the defendant used the mark; (3) that the defendant's use of the mark occurred “in

commerce”; (4) that the defendant used the mark “in connection with the sale, offering for sale,

distribution, or advertising” of goods or services. See PETA, 263 F.3d at 364; 15 U.S.C. §§

1114, 1125(a). The application of all four elements to Defendants' actions are wholly undisputed

and in Translucent's favor.




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       A. It is Undisputed that the TRANSLUCENT COMMUNICATIONS Mark
          Belongs to Translucent.

       Defendants admit in their Responses to Translucent's First Request for Admission that

TRANSLUCENT and TRANSLUCENT COMMUNICATIONS are the trade names for

Translucent Communications, LLC:

       Request for Admission No. 15: Admit that Plaintiff is the owner of the names and
       marks TRANSLUCENT and TRANSLUCENT COMMUNICATIONS for use in
       the sale of telephones, mobile devices and related equipment.

       Response: Admitted.

       Defendants further admitted that they have no right in Translucent's name and marks:

       Request for Admission No. 16: Admit that Defendants have no rights to use of the
       names and marks TRANSLUCENT and TRANSLUCENT COMMUNICATIONS for
       use in the sale of telephones, mobile devices and related equipment.

       Response: Admitted.

       TRANSLUCENT COMMUNICATIONS is a mark entitled to protection under the

common law due to continued use and promotion by Translucent. Trademark law requires that

the mark be "distinctive at the time of registration of the domain name" 15 U.S.C. § 1125

(d)(1)(A)(ii)(I). Regarding the enforceability of common-law marks, Maryland courts agree that

"the statute itself preserves the enforceability of common-law trade or service marks." Sea Watch

Stores v. Council of Unit Owners of Sea Watch Condominium, 691 A.2d 750, 769 (Md. Ct. Spec.

App.    1997).     A     trademark     is    protected    under     Maryland      law    as    a

name, symbol, word or combination of 2 or more of these that a person uses to identify the

business or occupation of the person and to distinguish it from the business or occupation of

another person," and need not be registered to be protected. See id. citing (Md. Code Business

Regulation §401-1 et seq.




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       Translucent Communications adopted the mark TRANSLUCENT COMMUNICATIONS

on or about December 13, 2003 and continually used it in interstate commerce to identify its

goods and services and to distinguish such goods and services from those made and sold by

others. The domain translucentcomunications.com was registered on January 10, 2005. See Exh.

18. Mr. Schmulian testified to the importance of Translucent's trade name:

       The trade -- the name Translucent Communications is a well known name in the --
       in the industry for the company. People recognize us by our name. And our
       reputation and our business is -- is, you know, identified by our name, Translucent.
       So it's part and parcel of doing business. You know, customers and vendors
       recognize us by our name. And to -- to me that's what the name represents, an
       image. A -- you know, kind of an identification of who we are and what we do.
       Schmulian Dep. 191:18-192:7.

Therefore, due to Defendants' admission that Translucent is the exclusive owner of the

Translucent mark, and its continual use in interstate commerce to identify Translucent's goods

and services, the mark is entitled to protection.

       B. Defendants Used Translucent's Mark In Connection with the Marketing and
          Sale of Goods and Services in Commerce.

       Irrespective of how or why Defendants acquired control of Translucent's internet domain,

it is an undisputed fact that Defendants continue to offer their own goods and services under

Translucent's Mark on translucentcommunications.com. See Hohne Aff. at ¶¶3-5. Any internet

user accessing translucentcommunications.com sees the active website of APC Wireless, which

while the user clicks though the website, the browser continues to display the domain name

translucentcommunications.com. Id. APC Wireless' website includes Defendants' contact

information, a detailed company profile, the services and business "solutions" offered by

Defendants, and active links to the websites of Movida and Liberty Wireless, two companies

offering the sale of cellular telephone equipment and calling plans. Id. When clicked upon, each




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linked website also appears under the Translucent domain. Id. Therefore, it is undisputed that

Defendants have high-jacked Translucent's domain name and trademark for Defendants' benefit.

       To use Translucent's Mark “in connection with” goods or services, Defendants need not

even have actually sold or advertised goods or services on Translucent's domain. See PETA, 263

F.3d at 365. Rather, Defendants need only prevent users from obtaining or using Translucent's

goods or services, or need only have connected the website to other's goods or services. Id. Thus,

Defendants' use of Translucent's mark is “in connection with” the distribution of goods and

services because it is "likely to prevent or hinder internet users from accessing plaintiff's services

on plaintiff's own website." Id. (quoting OBH, 86 F.Supp.2d at 183). Prospective users of

Translucent's goods and services who mistakenly access Defendants' web site via

translucentcommunications.com may fail to continue to search for Translucent's own home page,

"due to anger, frustration, or the belief that plaintiff's home page does not exist." Id. at 365. As

the above elements are clearly met, all that remains is the final individual elements of unfair

competition and passing off under the statute. 15 U.S.C. §1125(a); PETA, 263 F.3d 359, 364

(4th Cir. 2001).

       C. Defendants Use Translucent's Mark in a Manner Likely to Confuse Consumers
          in Violation of 15 U.S.C. 1125(a)(1).

       The unauthorized use of a trademark infringes the trademark holder's rights if it is likely

to confuse an “ordinary consumer” as to the source or sponsorship of the goods or services.

PETA, 263 F.3d at 366 (citing Anheuser-Busch, Inc. v. L & L Wings, Inc., 962 F.2d 316, 318 (4th

Cir.1992)(citing 2 J. McCarthy, Trademarks and Unfair Competition § 23:28 (2d ed.1984)). To

determine whether a likelihood of confusion exists, a court should not consider “how closely a

fragment of a given use duplicates the trademark,” but must instead consider “whether the use in

its entirety creates a likelihood of confusion.” Id. Defendants appropriated the Translucent Mark



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in    full,   such    that     the    APC    Wireless     website     appears    on     the    domain

translucentcommunications.com. This creates a presumption of likelihood of confusion among

internet users as a matter of law. New York State Society of Certified Public Accountants v. Eric

Louis Associates, Inc., 79 F.Supp.2d 331, 340 (S.D.N.Y.1999)(applying in the internet context

the rule that "if the evidence shows that the defendant intentionally copied the plaintiff's mark,

likelihood of confusion will be presumed as a matter of law.")(citing Mobil Oil Corp. v. Pegasus

Petroleum Corp., 818 F.2d 254, 258 (2d Cir.1987)).

        In addition, the Fourth Circuit has identified seven factors helpful in determining whether

a likelihood of confusion exists as to the source, but “not all these factors are always relevant or

equally emphasized in each case.” Lamparello v. Falwell, 420 F3d 309, 313 (4th Cir.

2005)(citing Pizzeria Uno Corp. v. Temple, 747 F.2d 1522, 1527 (4th Cir. 1984) The factors are:

(a) the strength or distinctiveness of the mark; (b) the similarity of the two marks; (c) the

similarity of the goods/services the marks identify; (d) the similarity of the facilities the two

parties use in their businesses; (e) the similarity of the advertising used by the two parties; (f) the

defendant's intent; (g) actual confusion.”). Of the factors relevant to Defendants' actions, each

unequivocally tilts in favor of a finding of a likelihood of confusion.

        Translucent's Mark is distinctive (and recognized by Defendants as a valid trademark),

and     Defendants'      use     of    its    APC       Wireless     on     Translucent's      domain

translucentcommunications.com is not merely similar, but identical to Translucent's Mark.

Defendants and Translucent are competitors in the cellular telephone industry. As demonstrated

elsewhere in this Motion, Defendant's acts were intentional and done to deprive Translucent of

its domain. Finally, as Mr. Schmulian testified, actual consumers contacted him stating their

confusion related to visiting translucentcommunications.com but instead seeing the active




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website of APC Wireless. Schmulian Dep. 236:19-238:17.

       D. Defendant's Use of Translucent's Mark on Translucentcommunications.com
          Violates the Anti-Cybersquatting Consumer Protection Act.

       The Anti-Cybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. §1125(d)(1)(A)

prevents "cybersquatting," an expression that has come to mean the bad faith, abusive

registration and use of the distinctive trademarks of others as internet domain names, with the

intent to profit from the goodwill associated with those trademarks. See Virtual Works, Inc. v.

Volkswagen of America, Inc., 238 F.3d 264, 271 (4th Cir. 2001)(ACPA "was enacted to prevent

the expropriation of protected marks in cyberspace and to abate the consumer confusion resulting

therefrom"). ACPA provides in pertinent part:

       Cyberpiracy prevention (1) (A) A person shall be liable in a civil action by the
       owner of a mark, including a personal name which is protected as a mark under
       this section, if, without regard to the goods or services of the parties, that
       person—
       (i) has a bad faith intent to profit from that mark, including a personal name which
       is protected as a mark under this section; and
       (ii) registers, traffics in, or uses a domain name that—
                (I) in the case of a mark that is distinctive at the time of registration of the
                domain name, is identical or confusingly similar to that mark;

15 U.S.C. § 1125(d)(1)(A). Defendants' actions related to the translucentcommunications.com

domain constitute a violation of ACPA because (1) Defendants had a bad faith intent to profit

from using the Translucent domain name, (2) the Translucent domain name is identical or

confusingly similar to, or dilutive of, the Translucent Mark, and See id.

       The facts set forth above prove the second element, such that Defendants high-jacked

Translucent's name and mark for their own benefit. A simple comparison of the Translucent

mark against translucentcommunications.com itself demonstrates that the domain name is

identical, and therefore confusingly similar, to the mark. See New York State Society of Certified

Public Accountants, 79 F.Supp.2d at 340; PETA, 263 F.3d at 365. As noted above, Defendants'



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illegal use harms and confuses consumers because they may fail to search for plaintiff's own

home page or acquire products or services they never intended to, thinking that Translucent and

APC Wireless had become one and the same. Id. Defendant Greene admits that the Translucent

domain was changed, Greene Dep. 71-73, and the Registration of the domain clearly states that

the Registrant and Administrative Contact is:

                                  Translucent Communications
                                  Paul Greene
                                  5268-R Nicholson Lane
                                  Kensington, MD 20895
                                  US
                                  Phone: 301-412-4412
                                  Email: Paul@APCWireless.com

See Exh.18.

         As to the first element, under the ACPA, there are nine factors a court must consider in

making a determination of whether the Defendant had a bad faith intent. 15 U.S.C.

§1125(d)(1)(B).16 "The usual preponderance of the evidence standard applies to claims of bad



16
   (B) (i) In determining whether a person has a bad faith intent described under subparagraph (A), a court may
consider factors such as, but not limited to—
(I) the trademark or other intellectual property rights of the person, if any, in the domain name;
(II) the extent to which the domain name consists of the legal name of the person or a name that is otherwise
commonly used to identify that person;
(III) the person’s prior use, if any, of the domain name in connection with the bona fide offering of any goods or
services;
(IV) the person’s bona fide noncommercial or fair use of the mark in a site accessible under the domain name;
(V) the person’s intent to divert consumers from the mark owner’s online location to a site accessible under the
domain name that could harm the goodwill represented by the mark, either for commercial gain or with the intent to
tarnish or disparage the mark, by creating a likelihood of confusion as to the source, sponsorship, affiliation, or
endorsement of the site;
(VI) the person’s offer to transfer, sell, or otherwise assign the domain name to the mark owner or any third party for
financial gain without having used, or having an intent to use, the domain name in the bona fide offering of any
goods or services, or the person’s prior conduct indicating a pattern of such conduct;
(VII) the person’s provision of material and misleading false contact information when applying for the registration
of the domain name, the person’s intentional failure to maintain accurate contact information, or the person’s prior
conduct indicating a pattern of such conduct;
(VIII) the person’s registration or acquisition of multiple domain names which the person knows are identical or
confusingly similar to marks of others that are distinctive at the time of registration of such domain names, or
dilutive of famous marks of others that are famous at the time of registration of such domain names, without regard
to the goods or services of the parties; and


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faith registration of domain names" under ACPA. Harrods Ltd. v. Sixty Internet Domain Names,

302 F.3d 214, 227 (4th Cir. 2002).

         Applying these factors, the weight of the evidence clearly demonstrates that Defendants

had the requisite bad faith intent: (I) Defendants had no intellectual property right in

translucentcommunications.com; (II) translucentcommunications.com is not Defendants' name or

a name otherwise used to identify APC Wireless; (III) Defendants had no prior use of

translucentcommunications.com in connection with the bona fide offering of any goods or

services under the APC Wireless name; (IV) Defendants used the Translucent Mark in a

commercial manner; (V) Defendants intended to confuse, mislead and divert internet users APC

Wireless' web site, Translucent's competitor in the cellular telephone industry, and was therefore

harmful to the goodwill represented by the Translucent Mark; (VI) Defendant Greene carried out

his threat to Mr. Schmulian that if Translucent would not pay him for alleged money owed for

the aesthetic content of the website, Defendants would shut down the website;17 (VII)

Defendants made patently false statements when registering the domain name by naming Paul

Greene of APC Wireless as the Registrant for translucentcommunicatiosn.com and Defendants

retained access to the passwords after Defendant Greene's separation from Translucent

Communications; and (IX) the translucentcommunications.com domain name consists

exclusively of Translucent's Mark.




(IX) the extent to which the mark incorporated in the person’s domain name registration is or is not distinctive and
famous within the meaning of subsection (c).
17
    Q: And you see the Web site that we're looking at [translucentcommunications.com] appears to be the APC
Wireless Web site, is that correct?
A: I do, yes. Correct.
Q: Do you know why this -- why that happens?
A: Because Brett refused to pay his half of the cost to produce the Web site. He told me to pay your half but
we've got to take your Web site over. He refused to pay so we moved the Web site.
 Greene Dep. 71:21-72:5.


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       Notably, the Fourth Circuit held that factor (V)—a Defendants' deliberate attempt to

divert consumers and cause a likelihood of confusion—"is strong evidence of bad faith intent

Factor (V) standing alone supports [a] finding of bad faith intent". Harrods Ltd. v. Sixty Internet

Domain Names, 302 F.3d 214, 237 (4th Cir.2002). Defendants in this case not only diverted

Translucent's consumers, but mirrored their own site apcwireless.com to appear whenever

translucentcommunications.com is accessed. See Hohne Aff. at ¶¶ 3-5.

       In addition to the damages requested below, ACPA allows this Court to "order the

forfeiture or cancellation of the domain name or the transfer of the domain name to the owner of

the mark." 15 U.S.C. §1125(d)(1)(C). Therefore, Translucent requests that this Court order

Defendants to immediately remove the APC Wireless website from the Translucent domain,

relinquish the registration of the domain name translucentcommunications.com, and to transfer

its registration of such domain name to Translucent.

       E. Translucent is Entitled to Defendants' Profits and Maximum Statutory Damages
          Because of the Willful Nature of Defendants' Conduct.

       A plaintiff may recover statutory damages that flow from the defendant's violation of the

Anti-Cybersquatting Consumer Protection Act "in the amount of not less than $1,000 and not

more than $100,000 per domain name, as the court considers just." 15 U.S.C §1117(d).

Therefore, due to Defendants' numerous violations of Translucent's mark, it is just that $100,000

be the baseline of damages. The statute further provides that there is a rebuttable presumption

that the violation is "willful" for purposes of determining relief as long as the violator

"knowingly provided or knowingly caused to be provided materially false contact information to

a domain name registrar, domain name registry." 15 U.S.C. §1117(e).

       Here, Defendants changed the registration of the domain in October 2008 to falsely

reflect that the Registrant is Paul Greene, including his Maryland and APC Wireless contact



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information. See Exh. 18. Thus, applying the rebuttable presumption, the Court should conclude

that the defendant's conduct was willful for purposes of calculating damages. Because of the

Defendants' deliberate attempt to divert consumers and cause a likelihood of confusion,

Translucent requests that this Court enter judgment of $100,000, the maximum statutory award,

even without a determination that Defendants' conduct was willful.                  15 U.S.C. §1117(d).

         In addition, due to Defendants' violations of §1125(a), Translucent is entitled to recover

its actual damages as well as all profits gained by Defendants through the use of the Translucent

mark. 15 U.S.C. §1117(a). Because Defendants' profits due to their use of the Translucent mark

are unknowable, this Court should order Defendants to submit an accounting of all profits

derived from the domain translucentcommunications.com and all websites linked thereto.

         F. Translucent is Entitled to Reasonable Attorney Fees and Costs Because of the
            Willful Nature of Defendants' Conduct.

         Translucent is presumed to be entitled to its costs, and should be entitled to recover

reasonable attorneys' fees incurred in bringing this litigation. 15 U.S.C. §1117(a)(3). The statute

provides for an award of attorneys' fees to prevailing parties in exceptional trademark

infringement actions. PETA, 263 F.3d 359, 370 (4th Cir. 2001) (quoting Scotch Whisky Ass'n v.

Majestic Distilling Co., 958 F.2d 594, 599 (4th Cir. 1991).18 The Fourth Circuit defines

exceptional cases as those in which the infringement was "malicious, fraudulent, willful or

deliberate." Id. In view of Defendant's exceptionally clear, malicious, and willful infringement,

this Court should award Translucent's attorneys' fees and costs.19 15 U.S.C. § 1117(a).


18
   In PETA, the Fourth Circuit recognized the right to attorneys' fees under the statute, but upheld the trial court's
determination that though willful, the defendant's use did not warrant attorneys' fees because “he thought that he had
a legitimate First Amendment right to express himself this way” and “to create a parody of the plaintiff's
organization.” PETA, 263 F.3d at 370.
19
   Because Translucent now requests attorneys' fees pursuant to the statute, upon entry of judgment Translucent, will
submit its Local Rule 109.2.b memorandum setting forth the attorneys' fees requested within 35 days of entry of
judgment, or otherwise as this Court directs.



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       Attorney's fees have been routinely awarded in trademark cases under both ACPA and

traditional trademark infringement. In Citigroup, Inc. v. Shui, 611 F.Supp.2d 507 (E.D. Va.

2009), the court concluded that the defendant was liable under ACPA for its bad faith

registration of marks similar to Citigroup's and it enjoined the defendant's use of the similar

names and awarded Citigroup $100,000 in damages. Id. The court concluded that the defendant

registered and used the disputed domain names in violation of the ACPA and that the use was

"sufficiently willful, deliberate, and performed in bad faith to merit the maximum statutory

award of $100,000 and an award of attorneys' fees." Id. See also In NuPulse, Inc. v. Schlueter

Co., 853 F.2d 545, 547 (7th Cir.1988)(awarding attorneys' fees where defendant's conduct was

"certainly intentional" and designed to reduce the plaintiff's sales).      Here too, Defendants'

conduct was sufficiently willful to warrant an award of attorneys' fees because Defendants

deliberately redirected all internet traffic and business derived by the website from Translucent's

domain to Defendants' website. Defendants' transfer of the website was undoubtedly performed

in bad faith under ACPA, and done so in a purely retaliatory manner.

VII.   Defendants' Use of Translucent's Mark Violates Maryland Unfair Competition Law.

       In Maryland, the common law tort of unfair competition has been extended to “all cases

of unfair competition in the field of business.” Electronics Store, Inc. v. Cellco Partnership, 732

A.2d 980, 991 (Md. Ct. Spec. App. 1999)(citing Baltimore Bedding Corp. v. Moses, 34 A.2d 338

(Md. 1943)). The rationale of the law is that “no one, especially a trader, is justified in damaging

or jeopardizing another's business by fraud, deceit, trickery or unfair methods of any sort.” Id.

"What constitutes unfair competition in a given case is governed by its own particular facts and

circumstances. Each case is a law unto itself, subject, only, to the general principle that all

dealings must be done on the basis of common honesty and fairness, without taint of fraud or




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deception." Id. The Court of Appeals has held that: in the case of wrote:

       Like most doctrines of the common law, the law of unfair competition is an outgrowth of
       human experience. The rules relating to liability for harm caused by unfair trade practices
       developed from the established principles in the law of torts. These rules developed
       largely from the rule which imposes liability upon one who diverts customers from
       another to himself by fraudulent misrepresentation....

Id. (citing Edmondson Village Theatre, Inc. v. Einbinder, 116 A.2d 377 (Md. 1955)). “The legal

principles which are controlling here are simply the principles of old-fashioned honesty. One

man may not reap where another has sown, nor gather where another has strewn.’ ” Id. at 992

(citing GAI Audio of New York, Inc. v. Columbia Broadcasting Sys., Inc., 340 A.2d 736 (Md. Ct.

Spec. App. 1975)(quoting J.I. Case Plow Works v. J.I. Case Threshing Mach. Co., 155 N.W.

128, 134 (Wis. 1915)). As explained, Defendants made changes to the registration of the domain

name translucentcommunications.com, by not only disabling Translucent's website, but also

pointing internet users to Defendants' active website apcwireless.com.        Defendants' use of

Translucent's domain for the APC Wireless website is a directly fraudulent and deceitful use of

Translucent's trade name. Defendant APC Wireless is a competitor in the cellular telephone

industry with Translucent.

       While it is difficult for Translucent to know the extent of its damages from the redirection

of internet users to the website its direct competitor, it has no doubt been damaged due to

Defendants' "fraud, deceit, and trickery." Id. Indeed, Translucent received numerous calls from

confused consumers in the immediate aftermath of the website change. Schmulian Dep. 236:19-

238:17. In addition, Translucent was forced to set up a new website on a new domain, and

reeducate its entire customer base of the changed domain. Moreover, it is impossible to know

how many potential customers were simply lost, unable to locate Translucent's website, or

assuming that APC Wireless and Translucent were now one and the same. Notwithstanding that,




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Translucent has suffered compensable injury, is entitled to an accounting related to profits

derived from Defendants' use of Translucent's domain, and due to the willful nature of

Defendants' conduct, Defendants should be punished with an award of punitive damages as

deemed appropriate by this Court.

                                       CONCLUSION

       Translucent respectfully requests that this Court grant its Motion for Summary Judgment

because the undisputed facts in this case confirm that (1) Defendants fraudulently induced

Translucent into inaction with repeated assurances, and a clear and definite guarantee and

indemnification, and caused Translucent to be wrongfully sued for a debt that is not theirs, and

(2) wrongfully converted Translucent's domain name and in the process violated Translucent's

trademark an a patently unfair manner. Moreover, the clear facts now before this Court confirm

that Defendants have admitted to liability for the AmeriFactors debt, and have in fact made

payments to AmeriFactors to repay the debt. Neither the law nor justice can allow for the

continued harassment of Translucent by APC Wireless and Defendant Paul Greene's improper

acts, and as such summary judgment must be granted in favor of Translucent.




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Dated: October 9, 2009

                                          Respectfully submitted,

                                          HOLLAND & KNIGHT LLP

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of October, 2009 a true and correct copy of the
foregoing was served electronically on all parties of record.

                                          ___/s/_____________________
                                                 Thomas W. Brooke# 8869320_v5




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